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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

BAYINNAH HARRISON, Individually, )
and as Next Friend of and        )
Conservator for AMUNIQUE         )
HARRISON, a Minor,               )                   8:07CV407
                                 )
              Plaintiff,         )
                                 )
          v.                     )
                                 )
UNITED STATES OF AMERICA; BOARD )              MEMORANDUM OPINION
OF REGENTS OF THE UNIVERSITY OF )
NEBRASKA; CHILDREN’S HOSPITAL,   )
AMY LACROIX, M.D.; JOHN W.       )
SCHMIDT, M.D.; DANIEL FABER,     )
M.D.; WARD TRUEMPER, M.D.; CHAD )
BRANECKI, M.D.,                  )
                                 )
                Defendants.      )
_________________________________)


          This matter is before the Court on defendant United

States of America’s (“United States”) motion to dismiss pursuant

to Fed. R. Civ. P. 12(b)(1) for lack of subject matter

jurisdiction (Filing No. 7), and the United States’ motion to

stay discovery pending resolution of its motion to dismiss

(Filing No. 10).    Plaintiff has not responded to either motion,

and the time for doing so has expired.         Having reviewed the

motions, brief, and evidentiary submission,1 and the applicable




     1
        When subject matter jurisdiction is challenged under Fed. R.
Civ. P. 12(b)(1), the Court is permitted to consider matters outside
the pleadings without converting the motion to a summary judgment
motion. Harris v. P.A.M. Transport, Inc., 339 F.3d 635, 637-38 (8th
Cir. 2003).
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law, the Court finds the motion to dismiss should be granted and

the motion to stay discovery should be denied as moot.

                                DISCUSSION

           Plaintiff initially filed this medical malpractice suit

in the District Court of Douglas County, Nebraska, on August 7,

2007 (Filing No. 1, Ex. A).       Pursuant to 28 U.S.C. § 2679(d)(1),

the United States was substituted as a defendant for two named

defendants who were physicians acting within the scope of their

employment with the United States at the time of the alleged

negligent acts (Filing No. 3).        On October 12, 2007, the United

States filed a notice of removal to this Court (Filing No. 2).

The United States now moves for dismissal for lack of subject

matter jurisdiction, arguing that plaintiff failed to exhaust her

administrative remedies under the Federal Tort Claims Act

(“FTCA”), 28 USC §§ 1346(b) and 2671-2680.

           When a plaintiff alleges medical malpractice or

negligence against a federal employee acting within the scope of

his employment, the FTCA provides the exclusive remedy.             See 28

U.S.C. § 2679(b)(1).2     A plaintiff may not institute a medical


     2
         Section 2679(b)(1) states:

     The remedy against the United States provided by sections
     1346(b) and 2672 of this title for injury or loss of
     property, or personal injury or death arising or resulting
     from the negligent or wrongful act or omission of any
     employee of the Government while acting within the scope of
     his office or employment is exclusive of any other civil
     action or proceeding for money damages by reason of the same

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malpractice or negligence claim against the United States in

federal district court until the plaintiff has first exhausted

her administrative remedies.       Motley v. United States, 295 F.3d

820, 821 (8th Cir. 2002)(citing 28 U.S.C. § 2675(a)).             Section

2675(a) states:

                  An action shall not be instituted
                  upon a claim against the United
                  States for money damages for injury
                  or loss of property or personal
                  injury or death caused by the
                  negligent or wrongful act or
                  omission of any employee of the
                  Government while acting within the
                  scope of his office or employment,
                  unless the claimant shall have
                  first presented the claim to the
                  appropriate Federal agency and his
                  claim shall have been finally
                  denied by the agency in writing and
                  sent by certified or registered
                  mail.

          “Presentment of an administrative claim is

jurisdictional and must be pleaded and proven by the FTCA

claimant.”    Bellecourt v. United States, 994 F.2d 427, 430 (8th

Cir. 1993).   Here, plaintiff failed to plead exhaustion of

administrative remedies in her original complaint (Filing No. 1,

Ex. A), failed to amend the complaint after the United States was



     subject matter against the employee whose act or omission
     gave rise to the claim or against the estate of such
     employee. Any other civil action or proceeding for money
     damages arising out of or relating to the same subject
     matter against the employee or the employee's estate is
     precluded without regard to when the act or omission
     occurred.


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substituted as a defendant and the case was removed to this

Court, and then failed to contradict, or even respond to, the

United States’ allegations in its summary judgment motion.

Because there is no evidence or indication that plaintiff

exhausted her administrative remedies as required by the FTCA,

the Court finds it lacks subject matter jurisdiction with respect

to claims against the United States, therefore, the United

States’ motion to dismiss should be granted.           The United States’

motion to stay discovery will be denied as moot.           Because the

United States is no longer a defendant, the Court will remand

this action to the District Court of Douglas County, Nebraska.                A

separate order will be entered in accordance with this memorandum

opinion.

           DATED this 1st day of February, 2008.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ______________________________
                                     LYLE E. STROM, Senior Judge
                                     United States District Court




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